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    9 E-COM, INC.; GOMOSAFER; ABU
      ISSA HOLDINGS; ASHRAF ABU ISSA;
   10 and NABIL ABU ISSA
   11                        UNITED STATES DISTRICT COURT
   12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13
   14 MOSAFER INC.; MOSAFER E-COM,                   Case No. 2:21-cv-06320-MCS-JC
      INC.; AND GOMOSAFER,
   15                                                [Assigned to Hon. Mark C. Scarsi]
                  Plaintiffs,
   16                                                MOSAFER PARTIES’
            v.                                       MEMORANDUM OF POINTS AND
   17                                                AUTHORITIES IN SUPPORT OF
      ELLIOTT BROIDY; GEORGE NADER;                  MOTION TO STRIKE OR
   18 BROIDY CAPITAL MANAGEMENT,                     ALTERNATIVELY, TO DISMISS
      LLC; CIRCINUS, LLC; THE IRON                   THE BROIDY DEFENDANTS’
   19 GROUP INC. D/B/A IRONISTIC.COM;                CALIFORNIA STATE LAW
      SCL SOCIAL LIMITED; PROJECT                    COUNTERCLAIMS AND TO
   20 ASSOCIATES UK LTD; MATTHEW                     DISMISS REMAINING CLAIMS
      ATKINSON; AND JOHN DOES 1-100,
   21
                 Defendants.
   22                                                Date: December 6, 2021
                                                     Time: 9:00 a.m.
   23                                                Place: Courtroom 7C

   24                                                [Filed concurrently with Notice of
                                                     Motion and Motion]
   25
        AND RELATED COUNTERCLAIMS
   26
   27
   28

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    1 I.      INTRODUCTION
    2         In what has become a series of repetitive, unsuccessful efforts to bring the
    3 State of Qatar (“Qatar”) within the jurisdictional reach of United States courts,
    4 Elliott Broidy (“Broidy”) is back at it again with these opportunistic and
    5 unsubstantiated Counterclaims. In his Counterclaims, Broidy brings his fifth1
    6 successive lawsuit in federal court, again recycling many of the same moribund
    7 claims and shoehorning Mosafer Inc., Mosafer E-Com, Inc., and GoMosafer
    8 (“Plaintiffs”) into them in an attempt to force Qatar into an American court. Despite
    9 airing these already-dismissed claims repeatedly, Broidy has never before
   10 implicated any of the Plaintiffs in his conspiracy theory; he does so for the first time
   11 only in response to the Complaint. The reason is simple: Plaintiffs have never
   12 conspired with Qatar. Accused of making materially false and misleading
   13 statements that harm Plaintiffs, Broidy has responded by doubling down and making
   14 even more.
   15         The Counterclaims tell a story spanning several years that has nothing at all to
   16 do with Mosafer and that has already been adjudicated. Indeed, the Counterclaims
   17 admit that Broidy “brought the substance of these claims against Qatar in this court
   18 previously.” Doc. 46, ¶ 248. Plaintiffs, Abu Issa Holdings, Ashraf Abu Issa, and
   19 Nabil Abu Issa (collectively, the “Mosafer Parties”) were not parties to that
   20 litigation for a reason—they had nothing to do with Broidy’s failed claims against
   21 Qatar. Now, they are named defendants to three of the twelve counts in the
   22 Counterclaims only as an attempt by Defendants Broidy, Broidy Capital
   23 Management, LLC (“BCM”), and Circinus, LLC (“Circinus”) (collectively, the
   24
   25   1
       See Broidy Capital Mgmt., LLC v. Qatar, No. 2:18-cv-02421-JFW-E (C.D. Cal.
   26 Mar. 26, 2018); Broidy Capital Mgmt., LLC v. Muzin, No. 1:19-cv-00150-DLF
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   27 06615-CS (S.D.N.Y. July 23, 2018); Broidy v. Global Risk Advisors LLC, No. 1:19-
   28 cv-11861-MKV (S.D.N.Y. Dec. 27, 2019).
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    1 “Broidy Defendants”) to revisit and revive their dispute with a foreign government.
    2         The Broidy Defendants are no doubt aware that their claims against the
    3 Mosafer Parties are devoid of evidence. They also know that the mere act of filing a
    4 lawsuit cannot give rise to their claims under either California or Virginia law. This
    5 would be true even if Plaintiffs’ lawsuit were filed for an improper purpose (it was
    6 not) or if the Broidy Defendants properly pleaded a collateral advantage due to the
    7 filing (they did not). Consequently, the Broidy Defendants’ state law claims are
    8 subject to dismissal under each state’s anti-SLAPP statutes.
    9         Moreover, the Broidy Defendants’ claim for violations of the RICO Act fails
   10 for much the same reasons that its previous RICO claims have failed: there are no
   11 allegations that the Mosafer Parties engaged in any racketeering activity
   12 whatsoever—let alone a pattern of racketeering activity through an enterprise. In
   13 addition, they do not plead any compensable injury flowing from any alleged
   14 violations of RICO by the Mosafer Parties.
   15         Each of the counts against the Mosafer Parties is frivolous; the Counterclaims
   16 are loaded with incendiary and irrelevant content that is untethered from the law.
   17 As a result, even if every word of the Counterclaims were true, which is not the
   18 case, the Broidy Defendants still would fail to state a cognizable claim against the
   19 Mosafer Parties.
   20         This effort by the Broidy Defendants to deprive the Mosafer Parties of their
   21 First Amendment rights—encapsulated by the filing of a lawsuit—should be
   22 rejected.2 Without any basis, the Broidy Defendants actually go so far as to request
   23
        2
   24     In their responsive pleading to Plaintiffs’ Complaint, the Broidy Defendants took
        the position that Plaintiffs are attempting to chill their First Amendment rights. As
   25   set forth in Plaintiffs’ opposition to their motion to dismiss, the contention has no
   26   merit—Plaintiffs’ claims arise entirely from the Broidy Defendants’ unlawful
        conduct that is not protected by the First Amendment. Here, however, the Broidy
   27   Defendants do precisely what they attribute to Plaintiffs in an attempt to punish
   28   Plaintiffs for exercising their First Amendment right to petition.
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    1 an injunction prohibiting the Mosafer Parties from ever filing any future lawsuits
    2 against the Broidy Defendants. See e.g., Doc. 46, ¶ 246. The Broidy Defendants’
    3 bullying tactics are a brazen attempt to dissuade the Mosafer Parties and other
    4 businesses from seeking judicial redress for their intentional falsehoods in the
    5 future.
    6         Accordingly, the Broidy Defendants’ Abuse of Process claim should be
    7 stricken under Cal. Civ. Proc. Code § 425.16 and the Court should dismiss the
    8 remaining claims under Rule 12(b)(6) without leave to amend.
    9 II.     RELEVANT FACTUAL ALLEGATIONS
   10         A.    Broidy Has A Lengthy History of Filing Lawsuits And Courts Have
   11               Already Dismissed The Claims Brought Here
   12         In recent years, Broidy has filed numerous lawsuits that significantly overlap
   13 with the allegations in the Counterclaims—however never before has he referenced
   14 in any way whatsoever any of the Plaintiffs in this litigation. Although the Broidy
   15 Defendants made passing and self-serving references to this litigation history, Doc.
   16 46, ¶¶ 3, 37 & n.23–24, 248, they tellingly failed to give this Court the full breadth
   17 of that history in their 85-page Counterclaim, as both district courts and appellate
   18 courts across the country have rejected similar claims brought by Broidy and his
   19 companies.
   20         First, Broidy and BCM previously sued Qatar and others, including John
   21 Does, in this District based on substantially similar allegations.3 Doc. 46, ¶ 37. On
   22 August 8, 2018, the district court issued an order granting Qatar’s motion to dismiss
   23
   24   3
         In May 2018, Broidy and BCM filed an amended complaint against Qatar, Nicolas
   25   Muzin, Stonington Strategies LLC, Global Risk Advisors LLC, Kevin Chalker,
   26   David Mark Powell, Mohammed bin Hamad bin Khalifa al Thani, Ahmed Al-
        Rumaihi, and Does 1-10, bringing ten causes of action, including civil conspiracy,
   27   against all defendants. Broidy Capital Mgmt., LLC v. Qatar, No. 2:18-cv-02421-
   28   JFW-E, ECF No. 47 (C.D. Cal. May 24, 2018).
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    1 pursuant to Rules 12(b)(1) and 12(b)(2) on the basis that Qatar is immune from suit
    2 under the FSIA.4 Broidy Capital Mgmt., LLC v. Qatar, 2018 WL 6074570 (C.D.
    3 Cal. Aug. 8, 2018). On September 27, 2018, the district court entered a judgment
    4 dismissing Broidy and BCM’s amended complaint in its entirety. Broidy Capital
    5 Mgmt., LLC v. Qatar, No. 2:18-cv-02421-JFW-E, ECF No. 227 (C.D. Cal. Sept. 27,
    6 2018). Broidy and BCM appealed the district court’s order of dismissal and
    7 subsequent judgment for lack of subject-matter jurisdiction under FSIA as to all
    8 claims against Qatar. Id., ECF No. 228 (C.D. Cal. Sept. 28, 2018). Following the
    9 district court’s dismissal, the Ninth Circuit affirmed the order of dismissal and the
   10 Supreme Court denied certiorari. Broidy Capital Mgmt., LLC v. Qatar, 2018 WL
   11 6074570 (C.D. Cal. Aug. 8, 2018), aff’d on other grounds sub nom., 982 F.3d 582
   12 (9th Cir. 2020) (holding that FSIA bars the claims brought against Qatar), cert.
   13 denied, 141 S. Ct. 2704 (June 1, 2021).
   14         Second, Broidy and BCM filed a lawsuit in the United States District Court
   15 for the District of Columbia against Nicolas Muzin (“Muzin”) and others, bringing
   16 13 causes of action under federal and California state law, including violations of
   17 the RICO Act, conspiracy to violate the RICO Act, and civil conspiracy. See Doc.
   18 46, ¶ 121 n.78; Broidy Capital Mgmt., LLC v. Muzin, No. 1:19-cv-0150-DLF, ECF
   19 No. 18-2 (D.D.C. Jan. 24, 2019). Muzin’s motion to dismiss under Rule 12(b)(6)
   20 was granted in part, and his motion to dismiss under Rule 12(b)(1) was granted
   21
        4
   22     On August 16, 2018, the district court issued an order granting a motion to dismiss
        by Stonington Strategies LLC and Nicolas Muzin for lack of personal jurisdiction.
   23   Broidy Capital Mgmt., LLC v. Qatar, No. 2:18-cv-02421-JFW-E, ECF No. 209
   24   (C.D. Cal. Aug. 16, 2018). On August 22, 2018, the district court granted a motion
        to dismiss by Global Risk Advisors LLC and Kevin Chalker for lack of personal
   25   jurisdiction. Id., ECF No. 212 (C.D. Cal. Aug. 22, 2018). The district court
   26   dismissed these defendants, in addition to Qatar, from the action without leave to
        amend. Id., ECF Nos. 212 & 227. Broidy and BCM then voluntarily withdrew their
   27   claims without prejudice against David Mark Powell, Mohammed bin Hamad bin
   28   Khalifa al Thani and Ahmed Al-Rumaihi. Id., ECF No. 223.
                                                 -4-
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    1 insofar as it asserted immunity.5 Again, there is significant overlap between the
    2 factual allegations in the first amended complaint in the Muzin case and the
    3 Counterclaims here. For example, Broidy alleged that Muzin failed to persuade
    4 Jewish leaders to agree to meetings with influential Qataris visiting New York for
    5 the opening of the United Nations General Assembly and that American Jewish
    6 leaders declined to meet with the Emir of Qatar when he was at the United Nations
    7 in September of 2017 and declined offers of all-expenses-paid trips to visit Qatar.
    8 See id., ECF No. 18-2, ¶ 72. Here, the Broidy Defendants allege that on September
    9 28, 2017, Muzin, one of Qatar’s top D.C. lobbyists, invited American Jewish leaders
   10 to meet with the Emir in New York City during the Emir’s visit for the United
   11
   12   5
          Defendants’ motion for certification of interlocutory appeal to the D.C. Circuit
   13   Court of Appeals was denied by the district court. See Broidy Capital Mgmt., LLC
        v. Muzin, 2020 WL 1536350 (Mar. 31, 2020); see also Broidy Capital Mgmt., LLC
   14
        v. Muzin, No. 1:19-cv-0150-DLF, Paperless Order (Apr. 23, 2020). The D.C.
   15   Circuit affirmed the district court’s order, Broidy Capital Mgmt., LLC v. Muzin, No.
   16   20-7040 (D.C. Cir. Sept. 3, 2021), and in so doing described a complaint a lot like
        the Counterclaims, noting, for example, that Broidy describes himself as “a
   17   prominent business and civic leader who has actively served in leadership roles in
   18   U.S. government advisory groups, Jewish organizations, and the Republican Party.”
        Id. at 3. In addition, the D.C. Circuit noted the allegations that “[b]eginning in early
   19   2017, [Broidy] became a vocal critic of Qatar’s support for terrorists and friendly
   20   relationship with Iran, which he sees as a major threat to the security of the United
        States. . . . Broidy claims that [Qatar] engaged in a multi-million dollar dark money
   21   effort,” called the “Qatari Enterprise,” “to recruit lobbyists and influencers to polish
   22   Qatar’s public image within the United States.” Id. at 3–4 (quotations omitted).
        Moreover, Broidy alleged the Qatari Enterprise retained a cybersecurity firm, Global
   23   Risk Advisors LLC, to coordinate a cyber and information operation against Broidy
   24   and his company, including by illegally infiltrating their computer networks and
        obtaining unauthorized access to email accounts of persons in the United States
   25   associated with Broidy. Id. at 4. Muzin and Allaham allegedly distributed the
   26   hacked information and collaborated with Howard to provide the information to
        journalists, media organizations, and public relations professionals to destroy
   27   Broidy’s public standing and hamper his ability to influence public and presidential
   28   opinion on Qatar. Id. The Mosafer Parties are not mentioned.
                                                  -5-
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    1 Nations General Assembly later that month. Doc. 46, ¶ 121. The opposition by
    2 Broidy and others to these efforts helped prompt American Jewish leaders to refuse
    3 to meet with the Emir at that gathering, thereby frustrating Qatar’s plans to win over
    4 Jewish leaders. Id.
    5         Third, on July 23, 2018, Broidy and BCM filed a lawsuit in the Southern
    6 District of New York against Jamal Benomar, a former U.N. official, alleging
    7 several causes of action including civil conspiracy. Broidy Capital Mgmt., LLC v.
    8 Benomar, No. 7:18-cv-06615-CS, ECF No. 1 (S.D.N.Y. July 23, 2018). This
    9 lawsuit was filed as a companion case to the then-pending lawsuit filed in the
   10 Central District of California against an alleged co-conspirator, Muzin. Id.
   11 Benomar obtained a dismissal based on diplomatic immunity, which the Second
   12 Circuit affirmed. Id., ECF No. 56 (Dec. 21, 2018), aff’d, Broidy Cap. Mgmt. LLC v.
   13 Benomar, 944 F.3d 436 (2d Cir. 2019).
   14         Fourth, Broidy and BCM filed a lawsuit in the Southern District of New York
   15 related to the same facts and alleged conspiracy. In the first amended complaint,
   16 Broidy and BCM brought claims against Global Risk Advisors LLC and others,
   17 under various theories, including claims under the RICO Act and conspiracy to
   18 violate the RICO Act, as well as civil conspiracy. Broidy v. Global Risk Advisors
   19 LLC, No. 1:19-cv-11861-MKV, ECF No. 57 (S.D.N.Y. June 26, 2020). In
   20 dismissing the suit, the district court held that Global Risk Advisors was not entitled
   21 to any form of immunity, but that the amended complaint lacked sufficient
   22 allegations linking the cybersecurity firm to an alleged hack. Broidy v. Global Risk
   23 Advisors LLC, 2021 WL 1225949, at *10 (S.D.N.Y. Mar. 31, 2021). The hack
   24 allegations about the hack largely mirror the allegations here, and the Mosafer
   25 Parties are not mentioned. The district court further allowed plaintiffs to move for
   26 leave to amend within 30 days, reasoning that because the amended complaint is
   27 dismissed “on the basis of factual deficiencies,” the court cannot decide whether
   28
                                                 -6-
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    1 further amendment would be futile or could remedy the deficiencies.6 Broidy v.
    2 Global Risk Advisors LLC, No. 1:19-cv-11861-MKV, ECF No. 89 at 20.
    3         Critical to each of these lawsuits were Broidy’s repetitive, nearly identical
    4 allegations. Each complaint is substantially similar to the Counterclaims, with one
    5 notable exception: While in each instance Broidy pled violations of the RICO Act,
    6 conspiracy to violate the RICO Act, and/or civil conspiracy, no Mosafer entity was
    7 once mentioned, referenced, or named as party in any Broidy case before this one.
    8 The reason why is simple: the Mosafer Parties have nothing to do with Broidy and
    9 BCM’s conspiracy theories. In fact, the only wrongful conduct that the Broidy
   10 Defendants allege the Mosafer Parties engaged in is the act of filing the Complaint.
   11         B.     There Is No Evidence Of A Conspiracy
   12         Broidy would have this Court believe that boilerplate conspiracy theories
   13 already discarded by courts are sufficient to again plead a conspiracy claim here.
   14 The Counterclaims spin a tale of purported guilt by association as the basis of its
   15 causes of action against the Mosafer Parties.
   16         Having lost multiple times in his prior attempts to obtain a forum in federal
   17 court in order to air his conspiracy theories, Broidy now uses Plaintiffs’ lawsuit in
   18 an attempt to resuscitate them. On August 5, 2021 (over three years after Broidy’s
   19 first in this series of lawsuits), Plaintiffs filed a lawsuit against the Broidy
   20 Defendants and others under state and federal law alleging that these defendants
   21 knowing and intentionally engaged in a false advertising and misinformation
   22 campaign that predictably caused the travel business Mosafer to lose profits and
   23 close its flagship store in the United States. See generally Doc. 1. As part of their
   24
   25   6
        Following extensions, on June 1, 2021, the plaintiffs moved for leave to amend
   26 their complaint pursuant to Rule 15(a)(2) and requested permission to submit a
      declaration of a former Global Risk Advisors employee for in camera review.
   27 Broidy v. Global Risk Advisors LLC, No. 1:19-cv-11861-MKV, ECF Nos. 95 & 98.
   28 The district court has not yet ruled on either motion.
                                                 -7-
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    1 lawsuit, Plaintiffs explained that their business is “synonymous with Qatar” and
    2 “intimately associated with Qatar” because of its branding. Doc. 46, ¶ 7 (quoting
    3 Doc. 1, ¶¶ 4, 31–32, 63–64, 123). For example, Plaintiffs use elements of Qatar’s
    4 flag and culture in its advertising and marketing.
    5         In response, the Broidy Defendants filed the Counterclaims. See id. To
    6 distract from the deficiencies in their conspiracy theory, the Broidy Defendants
    7 write extensively of Broidy’s campaign against Qatar alleging it supports terrorism,
    8 devoting pages upon pages about all sorts of wrongful conduct Qatar supposedly
    9 engaged in, from an allegedly corrupt campaign to win the right to host the World
   10 Cup to disparate media discussions of geopolitical discourse involving Qatar. The
   11 Broidy Defendants then make the unsubstantiated allegations that there was a “close
   12 and personal business relationship” between the Mosafer Parties and Qatar’s ruling
   13 family. Id. ¶ 69. For instance, the Counterclaims spend multiple pages on every
   14 interaction Broidy could find between the Mosafer Parties and the Qatari
   15 government, even showing a social media posting of Nabil Abu Issa with
   16 government personalities at a government function. Id. ¶ 74. That is all there is to
   17 Broidy’s conspiracy claim.
   18         The Complaint is not the admission Broidy imagines it to be; it has nothing to
   19 do with Broidy’s previously dismissed claims against Qatar, and it certainly cannot
   20 revive them. Yet it is solely on this basis that the Broidy Defendants erroneously
   21 allege that the Mosafer Parties are part of a criminal conspiracy with Qatar called
   22 the Qatari Enterprise and thus are liable under both Virginia business conspiracy
   23 laws and the RICO Act.
   24 III.    LEGAL STANDARD
   25         To avoid dismissal under Rule 12(b)(6) of the Federal Rules of Civil
   26 Procedure, a complaint must state a claim for relief “that is plausible on its face.”
   27 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted); Zimmerman v. City of
   28 Oakland, 255 F.3d 734, 737 (9th Cir. 2001). A claim has “facial plausibility when
                                              -8-
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    1 the plaintiff pleads factual content that allows the court to draw the reasonable
    2 inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at
    3 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). When
    4 considering a 12(b)(6) motion to dismiss, a court must accept the well-pleaded
    5 factual allegations of the complaint as true and construe them in the light most
    6 favorable to plaintiffs. Id.; see also OSU Student All. v. Ray, 699 F.3d 1053, 1061
    7 (9th Cir. 2012). However, a court is “not bound to accept as true a legal conclusion
    8 couched as a factual allegation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.
    9 at 555).
   10 IV.     LEGAL ARGUMENT
   11         A.    The Broidy Defendants’ Abuse of Process Claim Should Be
   12               Stricken Pursuant To California’s Anti-SLAPP Statute
   13         “A court considering a motion to strike under the anti-SLAPP statute must
   14 engage in a two-part inquiry.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1110
   15 (9th Cir. 2003). First, “the moving defendant must make a prima facie showing that
   16 the plaintiff’s suit arises from an act in furtherance of the defendant’s constitutional
   17 right to free speech.” Makaeff v. Trump Univ., LLC, 715 F.3d 254, 261 (9th Cir.
   18 2013). “Second, once the defendant has made a prima facie showing, ‘the burden
   19 shifts to the plaintiff to demonstrate a probability of prevailing on the challenged
   20 claims.’” Vess, 317 F.3d at 1110 (citation omitted). Where, as here, “an anti-
   21 SLAPP motion to strike challenges only the legal sufficiency of a claim, a district
   22 court should apply the Federal Rule of Civil Procedure 12(b)(6) standard and
   23 consider whether a claim is properly stated.” Planned Parenthood Fed’n of Am.,
   24 Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir.), amended, 897 F.3d
   25 1224 (9th Cir. 2018). The Broidy Defendants’ Counterclaim for Abuse of Process
   26 should be dismissed because it is a frivolous attempt to intimidate Plaintiffs and
   27 limit their right to petition this Court for relief and the Broidy Defendants cannot
   28 demonstrate a probability of success.
                                                 -9-
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    1               1.     The Broidy Defendants’ Abuse of Process Claim Arises From
    2                      Protected Activity
    3         The commencement of Plaintiffs’ underlying action constitutes a “protected
    4 activity” within the meaning of the anti-SLAPP statute. See e.g., Drexler v. Billet,
    5 2018 WL 6920117, at *2 (C.D. Cal. June 12, 2018), aff’d, 784 F. App’x 548 (9th
    6 Cir. 2019); Navellier v. Sletten, 52 P.3d 703, 709–10 (Cal. 2002) (“In fact, but for
    7 the federal lawsuit and [counterclaim defendant’s] alleged actions taken in
    8 connection with that litigation, plaintiffs’ present claims would have no basis. This
    9 action therefore falls squarely within the ambit of the anti-SLAPP statute’s ‘arising
   10 from’ prong.”). The Broidy Defendants’ Abuse of Process claim against the
   11 Mosafer Parties is based entirely on the fact that Plaintiffs filed the Complaint. See
   12 Doc. 46, ¶¶ 247–52. As a result, the first prong inquiry of the anti-SLAPP analysis
   13 must be answered affirmatively because the Broidy Defendants’ allegations arise
   14 from and rest solely on Plaintiffs’ protected right to petition. JSJ Ltd. P’ship v.
   15 Mehrban, 141 Cal. Rptr. 3d 338, 345 (Cal. Ct. App. 2012) (“Filing a lawsuit is an
   16 act in furtherance of the constitutional right of petition, regardless of whether it has
   17 merit.”).
   18               2.     The Broidy Defendants Cannot Satisfy Their Burden Of
   19                      Showing They Are Likely To Prevail On Their Abuse Of
   20                      Process Claim
   21         Once a moving party makes a prima facie showing that the opposing party’s
   22 suit arises from an act in furtherance of the moving party’s right of petition, the
   23 burden shifts to the opposing party to prove probability of prevailing on the merits.
   24 Lamoon, Inc. v. Alfalfa Nail Supply Inc., 2008 WL 11338609, at *3 (C.D. Cal. Oct.
   25 14, 2008), aff’d sub nom., Lamoon, Inc. v. Lamour Nail Prod., Inc., 373 F. App’x
   26 795 (9th Cir. 2010). Where, as here, “an anti-SLAPP motion to strike challenges
   27 only the legal sufficiency of a claim, a district court should apply the Federal Rule
   28 of Civil Procedure 12(b)(6) standard and consider whether a claim is properly
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    1 stated.” Planned Parenthood Fed’n of Am., Inc., 890 F.3d at 834.
    2                      a.     The Broidy Defendants’ Abuse Of Process Claim Is
    3                             Barred By The Absolute Litigation Privilege
    4         As discussed below, the Broidy Defendants’ Abuse of Process claim is based
    5 entirely on a baseless allegation that the Mosafer Parties filed a frivolous Complaint
    6 against them. See infra Section IV.A.1. It is well-settled, however, that filing a
    7 complaint cannot give rise to liability for abuse of process theory because under
    8 California law, “communications with some relation to judicial proceedings are
    9 absolutely immune from tort liability by the litigation privilege.” Rusheen v. Cohen,
   10 128 P.3d 713, 718–19 (Cal. 2006) (internal quotations and citations omitted;
   11 emphasis added); see also Cal. Civ. Code § 47(b).
   12         The litigation privilege encourages “attorneys to zealously protect their
   13 clients’ interests,” and avoids “an unending roundelay of litigation, an evil far worse
   14 than an occasional unfair result.” Flatley v. Mauro, 139 P.3d 2, 16 (Cal. 2006)
   15 (internal quotations and citations omitted). The litigation privilege is meant to
   16 afford “litigants” like the Mosafer Parties “the utmost freedom of access to the
   17 courts without fear of being harassed subsequently by derivative tort actions” such
   18 as the Counterclaims. Silberg v. Anderson, 786 P.2d 365, 369 (Cal. 1990). “To
   19 accomplish these objectives, the privilege is ‘an ‘absolute’ privilege, and it bars all
   20 tort causes of action except a claim of malicious prosecution.’” Flatley, 139 P.3d at
   21 16 (emphasis added) (quoting Hagberg v. California Fed. Bank, 81 P.3d 244, 248
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    1 (Cal. 2004)).7
    2         The litigation privilege has specifically been held to bar abuse of process
    3 claims such as the Broidy Defendants’ claims here, which relate to the mere act of
    4 filing a Complaint. See e.g., Drasin v. Jacoby & Meyers, 197 Cal. Rptr. 768, 770
    5 (Cal. Ct. App. 1984) (“[T]he filing of a complaint has been held to be privileged, in
    6 the context of an abuse of process proceeding, under Civil Code section 47,
    7 subdivision 2.”); JSJ Ltd. P’ship, 141 Cal. Rptr. at 346 (“Because [defendant] is
    8 being sued for filing the 2009 Lawsuit against [plaintiff], the litigation privilege . . .
    9 forecloses the pursuit of the abuse of process cause of action.”) (internal quotation
   10 marks and citations omitted). As such, the Broidy Defendants’ Abuse of Process
   11 claim fails as a matter of law because it is barred by the litigation privilege.
   12                      b.     The Broidy Defendants Have Not Sufficiently Stated A
   13                             Claim For Abuse Of Process
   14         Even if the litigation privilege did not bar the Broidy Defendants’ Abuse of
   15 Process claim (and it does), the claim still must be dismissed because the
   16 Counterclaims fail to sufficiently allege a wrongful act by the Mosafer Parties.
   17         In order to “establish a cause of action for abuse of process, a plaintiff must
   18 plead two essential elements: that the defendant (1) entertained an ulterior motive in
   19 using the process and (2) committed a willful act in a wrongful manner.” Coleman
   20 v. Gulf Ins. Grp., 718 P.2d 77, 81 (Cal. 1986); see also DaVinci Aircraft, Inc. v.
   21
   22   7
         Any effort to amend the Counterclaims to substitute a claim of malicious
   23   prosecution in place of the abuse of process claim would be futile. Such claims are
   24   “traditionally . . . disfavored,” see, e.g., Sheldon Appel Co. v. Albert & Oliker, 765
        P.2d 498, 502 (Cal. 1989), and they require favorable resolution of the underlying
   25   action in its entirety; Citizens of Human., LLC v. Ramirez, 277 Cal. Rptr. 3d 501,
   26   510 (Cal. Ct. App. 2021), review denied (Aug. 11, 2021). Moreover, the causes of
        action in the Complaint are not just “legally tenable,” Area 55, LLC v. Nicholas &
   27   Tomasevic, LLP, 275 Cal. Rptr. 3d 519, 541 (Cal. Ct. App. 2021) (quotations
   28   omitted), but warrant relief, see generally Doc. 51.
                                                  -12-
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    1 U.S., 926 F.3d 1117, 1123 (9th Cir. 2019). The Broidy Defendants contend that the
    2 Mosafer Parties have committed an abuse of process by filing a Complaint that “is
    3 not designed to pursue a legitimate legal cause of action” and have an “ulterior
    4 motive of stripping the Broidy Defendants of their First Amendment rights.” Doc.
    5 46, ¶ 249.
    6         However, “[u]nder California law, [t]he mere filing or maintenance of a
    7 lawsuit—even for an improper purpose—is not a proper basis for an abuse of
    8 process action.” Chan v. FIA Card Services, 2010 WL 11558108, at *4 (C.D. Cal.
    9 Oct. 28, 2010) (dismissing abuse of process claim where only allegation is
   10 “defendant’s filing of an arbitration action and subsequent lawsuit” and the
   11 operative complaint does not “present other facts to support an abuse of process
   12 claim”) (quoting Oren Royal Oaks Venture v. Greenberg, Bernhard, Weiss, &
   13 Karma, Inc., 728 P.2d 1202, 1209 (Cal. 1986)).8
   14         Even if the mere filing of a lawsuit could possibly constitute a “wrongful act,”
   15 the Abuse of Process claim still fails. Preliminarily, the Broidy Defendants’
   16 allegations that Plaintiffs filed their action with an improper purpose are conclusory
   17 and inadequate. See e.g., SuperGuide Corp. v. Gemstar Dev. Corp., 2010 WL
   18 11463159, at *11–12 (C.D. Cal. June 3, 2010) (dismissing complaint because
   19 allegations that defendant “was intentionally using these legal processes to cause
   20
   21   8
          As a result, much of the Counterclaims are devoted to allegations completely
   22   irrelevant to any of the Broidy Defendants’ cause of action, including, for example,
        the allegation that Broidy engaged in a sophisticated and sustained false advertising
   23   and misinformation campaign against Qatar not because of the millions of dollars he
   24   received but because he is “civic-minded,” Doc. 46, ¶ 26, or the Counterclaims’
        partial, out-of-context excerpt of a document to argue that Broidy’s well-funded
   25   campaign against Qatari businesses did not actually have any impact. Id., ¶¶ 54–55.
   26   The sufficiency of the Complaint’s allegations is irrelevant to the Broidy
        Defendants’ Abuse of Process claim; lest there be any doubt however, the Mosafer
   27   Parties strongly disagree with the Broidy Defendants’ characterizations of the
   28   Complaint and Plaintiffs look forward to proving their case. See Doc. 51.
                                                -13-
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    1 harm to and damage Superguide, and not for any legitimate purpose” were
    2 “conclusory” and “wholly inadequate”).
    3         Moreover, “[g]enerally, an action for abuse of process lies only where the
    4 process is used to obtain an unjustifiable collateral advantage. For this reason, mere
    5 vexation or harassment are not recognized as objectives sufficient to give rise to the
    6 tort.” Younger v. Solomon, 113 Cal. Rptr. 113, 118 (Cal. Ct. App. 1974); see also
    7 Spellens v. Spellens, 317 P.2d 613, 627 (Cal. 1957) (“[T]here is no liability when the
    8 defendant has done nothing more than carry out the process to its authorized
    9 conclusion, even though with bad intentions. The improper purpose usually takes
   10 the form of coercion . . . such as the surrender of property or the payment of money,
   11 by the use of the process as a threat or a club. There is, in other words, a form of
   12 extortion, and it is what is done in the course of negotiation, rather than the issuance
   13 of any formal use of the process itself, which constitutes the tort.”).
   14         Here, the Broidy Defendants fail to allege that any unjustifiable collateral
   15 advantage was obtained through the filing of Plaintiffs’ lawsuit. See Doc. 46, ¶ 249.
   16 As such, even if merely filing a Complaint could give rise to an Abuse of Process
   17 claim (and it cannot), the claim still fails. See Guillory v. WFS Fin., Inc., 2007 WL
   18 879017, at *6 (N.D. Cal. Mar. 21, 2007) (dismissing abuse of process claim because
   19 plaintiff “does not allege any facts to support her conclusory allegations” that
   20 defendant filed a complaint “for purposes of extortion or retaliation” and
   21 “employing a procedure outlined the law cannot alone amount to an abuse of
   22 process”) (citation omitted).9
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        9
   26   Although the Broidy Defendants complain about subpoena actions filed by Qatar
      in 2018 and assert these subpoenas were an abuse of process by the Mosafer Parties,
   27 ¶¶ 48–51, they do not even begin to explain how the Mosafer participated in those
   28 actions, much less allege any action constituting abuse of process.
                                              -14-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1                3.    In The Alternative, The Court Should Dismiss The Abuse Of
    2                      Process Claim Under Rule 12(b)(6)
    3         If the Court declines to strike the Broidy Defendants’ California state law
    4 claim under the anti-SLAPP statute, it should dismiss the claim under Federal Rules
    5 of Civil Procedure 12(b)(6) for the reasons discussed in Section IV.A.2, supra. See
    6 e.g., Trendmood, Inc. v. Rabinowitz, 2021 WL 4815954, at *4 (C.D. Cal. June 21,
    7 2021) (denying motion to strike under the anti-SLAPP statute and granting
    8 alternative motion to dismiss); Future Ads LLC v. Gillman, 2013 WL 12306479, at
    9 *9 (C.D. Cal. Dec. 23, 2013) (same).
   10         B.     The Broidy Defendants Fail To State A Claim For Business
   11                Conspiracy Under Virginia Law
   12                1.    Virginia Law Does Not Apply To This Action
   13         The Broidy Defendants have made no attempt at establishing why Virginia
   14 law should govern their business conspiracy claim, nor could they.
   15         First, they have not established that California’s conspiracy law is materially
   16 different from Virginia’s law, which alone justifies applying California law. See
   17 T.P. v. Walt Disney Parks & Resorts U.S., Inc., 2021 WL 3598574, at *3 n.4 (C.D.
   18 Cal. Apr. 20, 2021) (“Because there is no conflict between Florida law and
   19 California law for breach of contract, the Court applies California law.”). Second,
   20 even if the laws of the two states were substantively different, the Broidy
   21 Defendants have not, and cannot, establish that Virginia has any interest in their
   22 conspiracy claim. See Hurtado v. Superior Ct., 11 Cal. 3d 574, 580 (1974) (“When
   23 one of two states related to a case has a legitimate interest in the application of its
   24 law and policy and the other has none, there is no real problem; clearly the law of
   25 the interested state should be applied.”). The underlying tort that the Broidy
   26 Defendants contend gives rise to their conspiracy claim is an abuse of process under
   27 California law; it would be completely illogical to apply the conspiracy law of
   28 Virginia, residence of only one party to this litigation, to allegations of a concerted
                                                -15-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 effort to violate California’s abuse of process laws.
    2         Because Virginia law does not apply, the Broidy Defendants’ cause of action
    3 for business conspiracy under Virginia’s Business Conspiracy Act must be
    4 dismissed.
    5                2.    Even if Virginia Law Applied, The Mosafer Parties Are
    6                      Immune From The Virginia Conspiracy Claim
    7         Like California’s anti-SLAPP statute, the Virginia anti-SLAPP statute “aim[s]
    8 to weed out and deter lawsuits brought for the improper purpose of harassing
    9 individuals who are exercising their protected right to freedom of speech.” Fairfax
   10 v. CBS Corp., 2 F.4th 286, 296 (4th Cir. 2021) (citation omitted). However,
   11 Virginia law accomplishes this goal not by creating a special motion to strike, as
   12 California does, but instead by creating an absolute statutory immunity for certain
   13 claims based on conduct protected by the First Amendment. Specifically, Virginia’s
   14 anti-SLAPP statute provides in pertinent part:
   15                A person shall be immune from civil liability for a violation
                     of § 18.2-499 . . . (i) regarding matters of public concern that
   16
                     would be protected under the First Amendment to the United
   17                States Constitution made by that person that are
                     communicated to a third party or (ii) made at a public hearing
   18
                     before the governing body of any locality or other political
   19                subdivision, or the boards, commissions, agencies and
                     authorities thereof, and other governing bodies of any local
   20
                     governmental entity concerning matters properly before such
   21                body.
   22
        Va. Code Ann. § 8.01-223.2(A). Here, the Broidy Defendants’ business conspiracy
   23
        claim under Va. Code § 18.2-499 is based entirely on the Mosafer Parties filing a
   24
        lawsuit, Doc. 46, ¶¶ 237, 250, which falls squarely within the zone of activity
   25
        protected by the First Amendment’s “right to petition the Government for a redress
   26
        of grievances” and thus the Virginia anti-SLAPP statute. See Soranno’s Gasco, Inc.
   27
        v. Morgan, 874 F.2d 1310, 1314 (9th Cir. 1989) (“The right of access to the courts is
   28
                                                 -16-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 subsumed under the first amendment right to petition the government for redress of
    2 grievances.”) (citations omitted). Accordingly, the Mosafer Parties have statutory
    3 immunity and cannot be liable under Virginia Code § 18.2-499 for allegedly filing a
    4 frivolous Complaint. As such, if Virginia law governs (and it does not), the Broidy
    5 Defendants’ claims still must be dismissed based on Virginia’s anti-SLAPP statute.
    6 See Agbapuruonwu v. NBC Subsidiary (WRC-TV), LLC, 821 F. App’x 234, 235 (4th
    7 Cir. 2020) (affirming dismissal based on immunity provision of Virginia Code §
    8 8.01-223.2), cert. denied sub nom., Fidelis Agbapuruonwu v. NBC Subsidiary
    9 (WRC-TV), LLC, 141 S. Ct. 1393 (2021); Fairfax v. CBS Broad. Inc., 2020 WL
   10 10147131, at *12 (E.D. Va. Feb. 11, 2020) (granting motion to dismiss where
   11 defendant “sufficiently established the statutory immunity under § 8.01-223.2(A)”),
   12 aff’d sub nom., Fairfax v. CBS Corp., 2 F.4th 286 (4th Cir. 2021).10
   13               3.     The Counterclaims Also Fail Because They Do Not
   14                      Sufficiently Allege A Claim Under A Business Conspiracy
   15                      Theory
   16         Even if the Broidy Defendants could somehow show that Virginia law applies
   17 and overcome the Virginia anti-SLAPP statute, their Virginia claim would still fail.
   18         To state a claim under Virginia’s Business Conspiracy Act, the pleading party
   19 must show “(1) concerted action between two or more people; (2) legal malice
   20 towards Plaintiff’s business; and (3) that the conspiratorial actions caused Plaintiff’s
   21 business damages.” Rogers v. Deane, 992 F. Supp. 2d 621, 635 (E.D. Va. 2014)
   22 (citations omitted), aff’d, 594 F. App’x 768 (4th Cir. 2014). A plaintiff must
   23 demonstrate that he was “injured in his reputation, trade, business or profession by
   24
   25   10
        The business conspiracy cause of action is also barred by Virginia’s litigation
   26 privilege. See Bryant-Shannon v. Hampton Roads Cmty. Action Program, Inc., 299
      Va. 579, 590 (2021) (“It is settled law in Virginia that words spoken or written in a
   27 judicial proceeding that are relevant and pertinent to the matter under inquiry are
   28 absolutely privileged.’”) (quoting Darnell v. Davis, 190 Va. 701, 707 (1950)).
                                                -17-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 reason by reason of a violation of § 18.2-499 . . . .” Va. Code Ann. § 18.2-500(A).
    2         The statute does not create an independent cause of action. See e.g., Dunlap
    3 v. Cottman Transmission Sys., LLC, 287 Va. 207, 215 (2014) (“[A]ctions for . . .
    4 statutory business conspiracy lie only if a plaintiff sustains damages as a result of an
    5 act that is itself wrongful or tortious.”) (citations omitted). Accordingly, to survive a
    6 motion to dismiss, the pleading party must sufficiently allege a separate actionable
    7 tort. Bay Tobacco, LLC v. Bell Quality Tobacco Prod., LLC, 261 F. Supp. 2d 483,
    8 499 (E.D. Va. 2003) (“[T]o survive a motion to dismiss, an allegation of conspiracy
    9 must include either an unlawful act or an unlawful purpose.”).
   10         The only independent tort that the Broidy Defendants allege against the
   11 Mosafer Parties is Abuse of Process. Doc. 46, ¶¶ 237–43. As discussed in Section
   12 IV, supra, the Broidy Defendants have failed to state a claim for Abuse of Process.
   13 As such, the Broidy Defendants cannot state a business conspiracy claim because
   14 they failed to allege an independent and actionable tort. See Spencer v. Am. Int’l
   15 Grp., Inc., 2009 WL 47111, at *12 (E.D. Va. Jan. 6, 2009) (“Plaintiff fails to plead
   16 facts sufficient to support a plausible claim of defamation or abuse of process. . . .
   17 Thus, because the conspiracy statute provides no protection for the type of injury
   18 alleged by Plaintiff and because Plaintiff fails to allege any illegal acts in
   19 furtherance of the alleged conspiracy, [the business conspiracy claim] should be
   20 dismissed.”); Bay Tobacco, LLC, 261 F. Supp. 2d at 499 (“[T]he only concerted
   21 action [plaintiff] avers is the defendants’ entry into a ‘secret’ agreement that
   22 [defendant] would begin to produce for [a competitor] instead of [defendant]. Of
   23 course, there can be no conspiracy to do an act, such as the formation of an
   24 agreement to produce that the law allows.”) (citation omitted).
   25         Moreover, even assuming that the Counterclaims plead a cognizable claim of
   26 Abuse of Process against the Mosafer Parties (and they do not), the business
   27 conspiracy claim fails for the additional reason that it was not plead with sufficient
   28 particularity. To survive a motion to dismiss, a business conspiracy claim “must be
                                               -18-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 pleaded with particularity, and with more than ‘mere conclusory language.’” Gov’t
    2 Emps. Ins. v. Google, Inc., 330 F. Supp. 2d 700, 706 (E.D. Va. 2004) (quoting Bay
    3 Tobacco, LLC, 261 F. Supp. 2d at 499); see also William v. AES Corp., 28 F. Supp.
    4 3d 553, 574 (E.D. Va. 2014) (“To withstand a motion to dismiss, a plaintiff must
    5 plead the requisite concert of action and unity of purpose in more than mere
    6 conclusory language. Virginia requires a plaintiff to allege some details of time and
    7 place and the alleged effect of the conspiracy. Where there are only vague,
    8 conclusory allegations of conspiracy, the claim fails at the threshold.”) (internal
    9 quotation marks and citations omitted).11 Such is the case here. The Counterclaims
   10 only assert conclusory allegations and lack any specific factual support. See
   11 Vuyyuru v. Jadhav, 2011 WL 1483725, at *14 (E.D. Va. Apr. 19, 2011) (dismissing
   12 business conspiracy claim where the plaintiff merely “recite[d] all the elements of a
   13 § 18.2–499 claim in a cursory way”); compare Livia Props., LLC v. Jones Lang
   14 LaSalle Ams., Inc., 2015 WL 4711585, at *11–12 (W.D. Va. Aug. 7, 2015)
   15 (dismissing business conspiracy claim where plaintiff alleged, “[u]pon information
   16 and belief JLLA, by virtue of the conduct of its agents, including Thompson,
   17 described herein, procured the participation, cooperation, agreement or other
   18 assistance of Comcast in entering a combination, association, agreement, and/or
   19
        11
   20      Statutory business conspiracy and civil conspiracy claims have the same pleading
        requirements. CJM Fin., Inc. v. Leebcor Servs., LLC, 2021 WL 1256906, at *7
   21   (E.D. Va. Apr. 5, 2021) (Under either civil or statutory conspiracy claims, Virginia
   22   law requires allegations of the “details about how, when, and where the alleged
        conspiracy occurred [and] its effect. Where, as here, there are only vague,
   23   conclusory allegations of conspiracy the claim fails at the threshold.”) (internal
   24   quotations marks and citation omitted); Bay Tobacco, LLC, 261 F. Supp. 2d at 499
        (“Under either [civil or statutory conspiracy], the plaintiff must first allege that the
   25   defendants combined together to effect a preconceived plan and unity of design and
   26   purpose, for the common design is the essence of the conspiracy. Consequently, in
        order to survive a motion to dismiss, Plaintiff must at least plead the requisite
   27   concert of action and unity of purpose in more than mere conclusory language.”)
   28   (internal quotation marks and citations omitted).
                                                  -19-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 mutual understanding for the purpose of willfully and maliciously injuring Plaintiff
    2 in its reputation, trade, business, or profession”), aff’d sub nom., Livia Props., II,
    3 LLC v. Jones Lang LaSalle Ams., Inc., 646 F. App’x 322 (4th Cir. 2016) with Doc.
    4 46, ¶ 237 (“Upon information and belief, the Counterclaim Defendants, and each of
    5 them, have combined, associated, agreed, and mutually acted together for the
    6 purpose of willfully and maliciously injuring Circinus by filing this frivolous
    7 lawsuit.”).
    8         Finally, the Broidy Defendants fail to allege injury. First, the business
    9 conspiracy claim alleges an injury only to Circinus (the only Virginia Defendant)
   10 with no mention of injury to Broidy or BCM. Therefore, the claim must be
   11 dismissed as to Broidy and BCM regardless of the sufficiency of the allegations.
   12 See Doc. 46, ¶¶ 237–43; Rogers, 992 F. Supp. 2d at 635–36. In a business
   13 conspiracy claim, the pleading party “must allege harm against his business and not
   14 merely himself or his reputation.” King v. Darden, 2018 WL 3651590, at *6 (E.D.
   15 Va. Aug. 1, 2018) (dismissing business conspiracy claim where pleading party
   16 “does not mention what damages his business suffered or even what [its] business
   17 might entail”); Stone Castle Fin., Inc. v. Friedman, Billings, Ramsey & Co., 191 F.
   18 Supp. 2d 652, 664 (E.D. Va. 2002) (dismissing business conspiracy claim where
   19 plaintiff provides no specific factual basis, other than a conclusory allegation, to
   20 support its claim for conspiracy to injury business). Second, the Broidy Defendants
   21 fail to allege any specific business-related damages Circinus suffered, but merely
   22 state in a conclusory manner that they were injured. Compare Stone Castle Fin.,
   23 Inc., 191 F. Supp. 2d at 663–64 (dismissing business conspiracy claim where
   24 plaintiff alleged “[d]efendants conspired with iOwn, Genesis and others, maliciously
   25 and intentionally, for the purpose of interfering with and injuring [plaintiff’s]
   26 business.”) with Doc. 46, ¶ 239 (“Circinus[] has been injured in their reputation,
   27 trade, business, and profession, including the loss of contracts and other work.”).
   28
                                                 -20-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 Accordingly, the Broidy Defendants have failed to state a business conspiracy
    2 claim.
    3          C.    The Broidy Defendants Fail To State Claim Under the RICO Act
    4          The Broidy Defendants bring a claim against the Mosafer Parties under §
    5 1962(c) of the RICO Act. In order to sufficiently plead a claim under § 1962(c), a
    6 plaintiff must satisfy a heavy burden: they must demonstrate “(1) conduct (2) of an
    7 enterprise (3) through a pattern (4) of racketeering activity (known as ‘predicate
    8 acts’) (5) causing injury to plaintiff’s ‘business or property.’” Living Designs, Inc.
    9 v. E.I. Dupont de Nemours and Co., 431 F.3d 353, 361 (9th Cir. 2005) (citation
   10 omitted). “[A] section 1962(c) claim must be established as to each defendant.”
   11 Methodist Hosp. of S. California v. Blue Cross of California, 2010 WL 11508022, at
   12 *10 (C.D. Cal. Feb. 26, 2010) (citing United States v. Persico, 832 F.2d 705, 714
   13 (2d Cir. 1987), cert. denied, 486 U.S. 1022 (1988) (“The focus of section 1962(c) is
   14 on the individual patterns of racketeering engaged in by a defendant, rather than the
   15 collective activities of the members of the enterprise, which are proscribed by
   16 section 1962(d).”)) (emphasis added). The Broidy Defendants fail to satisfy their
   17 burden.
   18          As an initial matter, and as discussed above, a court has already concluded
   19 that “Broidy has not adequately pled a pattern of racketeering activity” in the “third
   20 lawsuit that Broidy has brought against members of the Qatari Enterprise.” Broidy
   21 Capital Management LLC v. Muzin, 2020 WL 1536350 at *3, 11 (Mar. 31, 2020).
   22 In fact, “[t]he alleged scheme” there “fail[ed] even to meet [RICO’s] baseline
   23 requirements.” Id. at 10. The same is true of the Counterclaims.
   24          First, the Broidy Defendants do not even try, because no such facts exist, to
   25 allege that the Mosafer Parties participated in any racketeering activity whatsoever.
   26 Compare Doc. 46, ¶ 268 (“Qatar, Qatari officials, and/or Qatari agents each
   27 participated in the ‘pattern of racketeering activity.’ . . . They committed multiple
   28 acts of wire fraud, . . . multiple acts of criminal money laundering, . . . multiple
                                                   -21-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 misappropriations of trade secrets. . . .) with id., ¶ 262 (The Mosafer Parties
    2 “furthered the State of Qatar’s scheme by filing a frivolous lawsuit”). The only tort
    3 (defectively) alleged against the Mosafer Parties is Abuse of Process, which is not
    4 an act of racketeering activity. See 18 U.S.C. § 1961(a) (“racketeering activity”
    5 means “(A) any act or threat involving murder, kidnapping, gambling, arson,
    6 robbery, bribery, extortion, dealing in obscene matter, or dealing in a controlled
    7 substance or listed chemical . . . which is chargeable under State law and punishable
    8 by imprisonment for more than one year”). In fact, the Counterclaims do not allege
    9 (defectively or otherwise) any racketeering activity by anyone after 2018.
   10         Second, the Broidy Defendants not only have to plead racketeering activity,
   11 but they must also establish a pattern of racketeering activity. That “requires at
   12 least two related predicate acts that ‘amount to or pose a threat of continued criminal
   13 activity.’” Kearney v. Foley & Lardner, LLP, 607 F. App’x 757, 758 (9th Cir.
   14 2015) (quoting H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989)) (emphasis
   15 in original); see also In re WellPoint, Inc. Out-of-Network UCR Rates Litig., 865 F.
   16 Supp. 2d 1002, 1035 (C.D. Cal. 2011) (“Where RICO is asserted against multiple
   17 defendants, a plaintiff must allege at least two predicate acts by each defendant.”).
   18 To plead “a pattern of racketeering activity a plaintiff . . . must show that the
   19 racketeering predicates are related, and that they amount to or pose a threat of
   20 continued criminal activity.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239
   21 (1989) (emphasis in original); see also Broidy Capital Management LLC v. Muzin,
   22 2020 WL 1536350 at *9 (Mar. 31, 2020) (“Broidy alleges only a single scheme to
   23 ‘retaliate against, discredit and ultimately silence Mr. Broidy’. . . . This is not
   24 enough to support a pattern of racketeering activity.”). Here, the Broidy Defendants
   25 allege zero racketeering acts by the Mosafer Parties, and that number only goes up
   26 to one even if the Abuse of Process claim is a predicate act and even if the Abuse of
   27 Process claim were sufficiently pled. Moreover, there are no allegations of any
   28 continuing criminal activity. As such, the Broidy Defendants have fallen far short
                                               -22-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 of their burden to plead a pattern of racketeering activity.12
    2         Third, the Broidy Defendants do not plead any “compensable injury flowing
    3 from a violation” of § 1962(c) that “necessarily is the harm caused by the predicate
    4 acts sufficiently related to constitute a pattern.” Anza v. Ideal Steel Supply Corp.,
    5 547 U.S. 451, 457 (2006) (quoting Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497
    6 (1985)). The Broidy Defendants spend many pages recounting their already-
    7 dismissed claims for injury due to alleged predicate acts committed in 2017 and
    8 2018. See, e.g., Broidy, 2020 WL 153650 (D.D.C. Mar. 31, 2020) (granting motions
    9 to dismiss as to RICO claims because Broidy failed to plead a pattern of
   10 racketeering activity; he had not pled either an open or closed-ended scheme). But
   11 the only injury alleged to have been caused by the Mosafer Parties (in their agent
   12 capacity or otherwise) stems from their Abuse of Process claim, which, as discussed
   13 herein, is not a predicate act and thus not a compensable injury under the RICO
   14
   15
   16
   17
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   21   12
          The Broidy Defendants also fail to plead any facts indicating that the Mosafer
   22   Parties “participated in the operation or management of the enterprise,” which
        requires a “showing that the defendants conducted or participated in the conduct of
   23   the ‘enterprise’s affairs,’ not just their own affairs.” Reves v. Ernst & Young, 507
   24   U.S. 170, 183, 185 (1993) (emphasis in original); see also Wendruck v. Hartford
        Life Ins. Comp., 2005 WL 8156443, at *2–3 (C.D. Cal. Dec. 12, 2015). “‘[T]o
   25   ‘participate, directly or indirectly, in the conduct of such enterprise’s affairs,’ one
   26   must have some part in directing those affairs.’” Walter v. Drayson, 538 F.3d 1244,
        1248 (9th Cir. 2008) (citing Reves, 507 U.S. at 179) (emphasis added). “Simply
   27   performing services for the enterprise does not rise to the level of direction”
   28   required to allege a claim under section 1962(c). Id. at 1249.
                                                 -23-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 Act.13
    2          Finally, the Broidy Defendants do not plead their RICO claim against the
    3 Mosafer Parties or Qatar with any particularity, because the Counterclaims do not
    4 state when the Mosafer Parties were alleged to have joined the purported Qatari
    5 Enterprise.14 See Doc. 46, ¶ 268 (pleading predicate acts of fraud against “Qatar,
    6 Qatari officials, and/or Qatari agents”); see also Broidy, 2020 WL 1536350 at *10
    7 (holding that Broidy’s RICO allegations “are not pled with nearly the specificity
    8 required by the heightened pleading standard of Rule 9(b)”) (quotations omitted).
    9 However, it is clear that the Broidy Defendants are not alleging that the Mosafer
   10 Parties entered into the Enterprise until the filing of this lawsuit. See Doc. 46, ¶ 43.
   11 As a result, the Mosafer Parties could not be alleged to have joined the conspiracy
   12 until after the last possible predicate act was completed. “[O]ne logically cannot
   13 contemplate acts committed in furtherance of a conspiracy into which he has not yet
   14 entered. . . . [T]he concept of foreseeability (a forward looking concept) must be
   15 turned around 180 degrees to be applied to the conduct of co-conspirators occurring
   16 before the entry of a particular defendant into the conspiracy.” Mattel, Inc. v. MGA
   17 Ent’t, Inc., 2010 WL 11463911, at *3 (C.D. Cal. Sept. 3, 2010) (internal quotations
   18 marks and citations omitted). In fact, because there is no predicate act alleged to
   19
        13
   20     For the same reason, any attempt to amend the Counterclaims to change the RICO
        count against the Mosafer Parties to § 1962(d) would be futile. Broidy “may not
   21   bring suit under § 1964(c) predicated on a violation of § 1962(d) for injuries caused
   22   by an overt act that is not an act of racketeering or otherwise unlawful under the
        [RICO] statute.” Beck v. Prupis, 529 U.S. 494, 507 (2000); see also Broidy, 2020
   23   WL 153650 at *11 (“The Court also will dismiss Count II, which alleges a RICO
   24   conspiracy, because an agreement to commit acts that do not form a pattern of
        racketeering activity is not an unlawful agreement under the RICO statute.”).
   25
        14
   26   The closest the Counterclaims come is in its alternative pleading that “the
      predicate acts outlined herein are part of a multi-year closed-ended scheme of
   27 racketeering that began no later than April 2017 and ended no earlier than August 5,
   28 2021, the date the Complaint was filed.” Doc. 46, ¶ 270.
                                                -24-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
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    1 have occurred by anyone after spring 2018 (or any tortious activity at all), the
    2 Broidy Defendants do not sufficiently allege that the conspiracy still existed when
    3 the Mosafer Parties “joined” it.15
    4 V.      CONCLUSION
    5         For the foregoing reasons, the Mosafer Parties respectfully request that this
    6 Court grant their Motion in its entirety by striking the Broidy Defendants’ Abuse of
    7 Process claim without leave to amend and dismiss their remaining claims under
    8 Rule 12(b)(6) without leave to amend.
    9
   10
        DATED: November 8, 2021                   LARSON LLP
   11
   12                                             By: /s/ Stephen G. Larson
                                                     Stephen G. Larson
   13                                                Koren L. Bell
                                                     Paul A. Rigali
   14                                                Jonathan D. Gershon
                                                     Attorneys for Plaintiffs and
   15                                                Counterclaim Defendants MOSAFER
                                                     INC.; MOSAFER E-COM, INC.;
   16                                                GOMOSAFER; ABU ISSA
                                                     HOLDINGS; ASHRAF ABU ISSA;
   17                                                and NABIL ABU ISSA
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   24   15
          This also defeats any allegation of common law civil conspiracy against the
   25   Mosafer Parties that the Broidy Defendants intended to plead. The Counterclaims
   26   do not allege any facts to indicate that Mosafer participated in an “agreement to
        commit wrongful acts” or “commission of the wrongful acts” as required under
   27   California law. Nautilus, Inc. v. Chunchai Yu, 2011 WL 13213575, at *11 (C.D.
   28   Cal. Dec. 19, 2011) (citation omitted).
                                                -25-
        MOSAFER PARTIES’ MEMO. OF POINTS AND AUTHORITIES ISO MTN. TO STRIKE OR ALTERNATIVELY,
            TO DISMISS THE CA. STATE LAW COUNTERCLAIMS AND TO DISMISS REMAINING CLAIMS
